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   12

   13                        UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
   14

   15
        Ms. L.,                                             Case No. 18-cv-00428-DMS-MDD
   16
                              Petitioner-Plaintiff,
   17   v.
                                                            Date Filed: September 13, 2018
   18   U.S. Immigration and Customs Enforcement
        (“ICE”); et al.,
   19                                                       PLAINTIFFS’ BRIEF
                                                            REGARDING
   20                          Respondents-Defendants.      REUNIFICATION OF TWO
                                                            PARENTS
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  1         Plaintiffs request immediate relief for two parents who have been denied
  2   reunification with their young children based on criminal allegations or conduct that
  3   are wholly insufficient to justify depriving them of their fundamental right to family
  4   integrity. Ms. Q. was separated from her then three-year-old son, J., more than six
  5   months ago, after fleeing persecution in El Salvador. Mr. C. was separated from his
  6   then nineteen-month-old son, D., four months ago, after running for their lives from
  7   gangs in Honduras. Both children recently had birthdays in ORR custody without
  8   their parents; J. is now four years old, and D. is now two.
  9         As set forth below, there has been no finding that Ms. Q. and Mr. C. are unfit,
 10   neglectful, or dangerous to their children. In fact, the evidence shows that both
 11   children are suffering greatly without the care of their loving parents, and even
 12   regressing in their development as a result of their lengthy custody. J was toilet
 13   trained when he came to the United States with his mother, but now he needs
 14   diapers after having several accidents. D., for his part, is a toddler confused about
 15   being in a shelter and is struggling to make sense of life without his father.
 16         This Court has explained that the Due Process Clause does not permit the
 17   government to separate parents from their children without “a determination that the
 18   parent was unfit or presented a danger to the child.” Dkt. 83 at 22-23. That is
 19   consistent with settled constitutional law, which establishes that the state may not
 20   take a child from her parent absent a clear showing that the child is in imminent
 21   danger of abuse or neglect. See, e.g., Keates v. Koile, 883 F.3d 1228, 1236 (9th Cir.
 22   2018) (explaining that the Constitution prohibits removal of child from parents
 23   absent “reasonable cause to believe that the child is in imminent danger of serious
 24   bodily injury”); Heartland Acad. Cmty. Church v. Waddle, 595 F.3d 798, 811 (8th
 25   Cir. 2010) (holding that removal of students from their parents violates the
 26   Constitution when “the students were not at immediate risk of child abuse or
 27   neglect”); Croft v. Westmoreland Cty. Children & Youth Servs., 103 F.3d 1123,
 28   1126 (3d Cir. 1997) (observing that absent reasonable grounds to suspect abuse,

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  1   “governmental intrusions of this type are arbitrary abuses of power”); see also
  2   Santosky v. Kramer, 455 U.S. 745, 753 (1982) (“The fundamental liberty interest of
  3   natural parents in the care, custody, and management of their child does not
  4   evaporate simply because they have not been model parents.”).
  5           As this Court has observed, the mere existence of some criminal history does
  6   not justify separating parents from their children. July 6 Status Conference, Dkt. 93
  7   at 21. Instead, the Court made clear that it expects the government to adhere to its
  8   policies for evaluating child safety and placement of families in detention centers,
  9   id., policies that require ICE personnel to “investigat[e] whether there is
 10   information that causes a concern about the welfare [of] the child, such as the adult
 11   having a significant criminal history.” July 13 Order Following Status Conference,
 12   Dkt. 108 at 2 (quotation omitted) (emphasis added). The government’s own
 13   policies, as the Court observed, provide that, in the absence of such concerns, or
 14   doubts about the parental relationship, parents and their children are “detained at a
 15   family residential center or, if appropriate, released to a sponsor or non-
 16   governmental organization.” Id. (quoting Mario Ortiz Declaration, ¶ 3, Dkt. 46-1.)
 17      I.      Ms. Q. and Mr. C.’s Continued Separation from Their Children
 18              Violates This Court’s Injunction and Due Process.
 19           Ms. Q. Ms. Q. traveled to the United States with her then three-year-old son,
 20   J., in March 2018. See Declaration of Ms. Q. (“Ms. Q. Decl.”), Ex. 63-1, ¶ 44. They
 21   encountered U.S. Customs and Border Protection officers near the border and
 22   turned themselves in. Id., ¶ 34. They were held in a cramped detention center for a
 23   several days; J. fell ill and suffered from diarrhea and vomiting. Id., ¶¶ 43-46.
 24           One morning, officers forcibly took a sleeping J. from Ms. Q.’s arms. Id., ¶
 25   52. As he was being taken away, he called for his “mama.” Id. Ms. Q. was taken to
 26   the Laredo Processing Center, while J. was sent to an ORR facility in Chicago.
 27   Declaration of Gianna Borroto (“Borroto Decl.”), Ex. 63-5, ¶ 2. The government
 28   has now kept Ms. Q. separated from her son for almost six months. Ms. Q. Decl.,
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  1   Ex. 63-1, ¶ 44
  2         J. was only three years old when he was taken from his mother; he is now
  3   four. The independent child advocate appointed to safeguard his interests in his
  4   removal proceedings has concluded that it would be in J.’s best interests to be
  5   immediately reunited with his mother, and that the separation is causing him high
  6   levels of anxiety and deterioration. See Declaration of Ms. Q.’s attorney, Katherine
  7   Melloy Goettel (“Goettel Decl.”), Ex. 63, ¶ 59.
  8         The government’s sole stated basis for refusing to reunify Ms. Q. with J. is a
  9   vague and unsubstantiated Salvadoran warrant dated February 2017, which alleges
 10   that Ms. Q. is affiliated with a gang.1 Goettel Decl., Ex. 63, ¶¶ 13-15. Ms. Q. has
 11   not been convicted of gang affiliation, and has never been charged or convicted of
 12   another crime. Id., ¶¶ 16-18. Under Texas law—where Ms. Q. and J. were separated
 13   and where Ms. Q. is currently detained—an arrest warrant without any evidence of
 14   abuse, abandonment, or neglect, would not lead to the temporary removal of a child
 15   or the permanent termination of parental rights. See, e.g., Tex. Family Code, Title 5,
 16   §§ 161.001(b), 262.104.
 17         Moreover, an examination of the warrant only confirms that Ms. Q. cannot be
 18   denied reunification. The warrant contains no allegation that Ms. Q. engaged in any
 19   specific criminal activity, and contains no finding of probable cause. See Goettel
 20   Decl., Ex. 63, ¶ 17. Ms. Q.’s counsel asked a Salvadoran attorney to review the
 21   foreign court record. This Salvadoran attorney found nothing but an unexplained
 22   allegation of gang “affiliation,” and no evidence linking Ms. Q. to a crime. Id., ¶¶
 23   19-23. The warrant was likely issued erroneously after the Salvadoran police raided
 24
 25   1
       Despite the repeated requests of Ms. Q.’s immigration counsel, the government
 26   only provided a copy of the Salvadoran warrant two business days before her
      scheduled immigration bond hearing. See Borroto Decl., Ex. 63-5. ¶ 4. The
 27   government states that the warrant was renewed in June 2018, but has not yet
 28   provided Plaintiffs or Ms. Q.’s lawyers with a copy. The government does not
      contest that Ms. Q. is J.’s mother.
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  1   the house where Ms. Q. had been renting a room with her son. Id. ¶ 21.
  2         In fact, Ms. Q.’s asylum claim—which an asylum officer deemed to establish
  3   a “credible fear of persecution”—is based on the persecution she fears from
  4   dangerous gang members. Goettel Decl., Ex. 63, ¶ 12. Ms. Q. categorically denies
  5   any affiliation with the gang, and attests that she knew nothing about any gang
  6   activity in the house where she was staying. Goettel Decl., Ex. 63, ¶ 21; Ms. Q
  7   Decl., Ex. 63-1, ¶¶ 18-21. Ms. Q. did speak with police officers after the raid.
  8   Goettel Decl., Ex. 63, ¶ 21; Ms. Q. Decl., Ex. 63-1, ¶¶ 18-21. Gang members later
  9   beat Ms. Q., presumably in retaliation for her speaking with the police. As a result
 10   of this attack, she was left bloodied and bruised, and feared loss of sight in one eye.
 11   Goettel Decl., Ex. 63, ¶ 21; Ms. Q. Decl., Ex. 63-1, ¶¶ 18-21.
 12         Furthermore, one of the government’s own immigration judges has reviewed
 13   the warrant and found it insufficient to conclude that Ms. Q. poses a danger to the
 14   community. At Ms. Q.’s immigration bond hearing, the government presented the
 15   Salvadoran warrant as a reason why Ms. Q. could not be released. Borroto Decl, Ex.
 16   63-5, ¶¶ 4-6. Although the immigration judge denied Ms. Q. bond due to flight risk
 17   concerns, the judge stated on the record that the government had failed to provide
 18   “sufficient evidence or information . . . upon which to find that [Ms. Q.] is a danger
 19   to the community.” Borroto Decl, Ex. 63-5, ¶¶ 8-10.
 20         Finally, Professor Martin Guggenheim has reviewed the government’s
 21   reasons for refusing to reunify Ms. Q. with J., and has confirmed that the warrant’s
 22   “conclusory” allegations provide no basis “from which a court could infer that her
 23   child would be exposed to any kind of risk if returned to her custody.” Guggenheim
 24   Decl., Ex. 65, ¶ 8.
 25         In sum, Ms. Q.’s warrant from El Salvador provides no basis for concluding
 26   that she is unfit or would present a danger to her child.
 27         Mr. C. Mr. C. and his son, D., came to the United States in late April, having
 28   fled Honduras to escape imminent danger to their lives. See Declaration of Carolyn
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  1   Silane (“Silane Decl.”), Ex. 64, ¶ 2. At the time, D. was only one year old. Id.
  2   Gang members had kidnapped and held Mr. C. at gunpoint, threatening both him
  3   and D.; other gang members have killed members of Mr. C.’s extended family. Id.
  4   Mr. C. has cared for D. since the child’s birth, and became his formal, legal parent
  5   with the blessing of D.’s biological mother. 2 Id., ¶ 8.
  6         After father and son came to the United States, Border Patrol officers
  7   approached and Mr. C. informed them of his fear of returning to Honduras. Id., ¶ 3.
  8   After a few days in detention, immigration officials accused Mr. C. of being a
  9   criminal, and told him to say goodbye to his son. Id., ¶ 4. Mr. C. cried as he
 10   watched officials separate him from D.; his son was nineteen months old at the
 11   time. Id., ¶ 4. Mr. C. has not seen or heard from him since May 2018. Id. He was
 12   not there when D. turned two in ORR care recently. Id., ¶ 6.
 13         While detained, Mr. C. was transferred to a jail near D. and told by officials
 14   that he would be reunified with his son. Id., ¶ 7. He was later told he would not be
 15   reunified because he is not the son’s biological father. Id. However, after showing
 16   he was the child’s legal parent, the government continued to refuse reunification,
 17   this time based on a criminal conviction from eight years ago for which he received
 18   less than 2 months of jail time. Id., ¶ 8.
 19         This conviction—a misdemeanor for aggravated assault from 2010—cannot
 20   support the requisite finding that Mr. C. is an unfit parent or a danger to his child.
 21   No children were involved in that incident. Id. Mr. C. served a sentence of only 48
 22   days. Id. He has no other criminal history. Id. Yet this conviction is the
 23   government’s sole basis for refusing to reunite Mr. C. with his young son.
 24         As Professor Guggenheim’s earlier declaration in this litigation explains,
 25
      2
 26     The government previously refused to reunify Mr. C. and D. because of doubts
      about parentage. Silane Decl., Ex. 64, ¶ 7. Mr. C.’s attorneys then provided the
 27   government with documentary proof that Mr. C. is D.’s legal father. Id. The
 28   government has now told Mr. C.’s lawyers and Plaintiffs’ counsel that they are no
      longer refusing to reunify Mr. C. because of parentage concerns. Id.
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  1   “criminal history is not a dispositive factor in determining whether remaining with a
  2   parent is in the best interest of a child.” Guggenheim Decl., ¶ 9, Dkt. 78. This rule
  3   holds “even when a criminal conviction is for the most serious crimes.” Id., ¶ 8.
  4   Professor Guggenheim has reviewed information concerning Mr. C.’s conviction,
  5   and observed that hundreds of thousands of people with felony criminal convictions
  6   retain the right to the care and custody of their children. Guggenheim Decl., Ex. 65,
  7   ¶ 9. Mr. C.’s conviction, a misdemeanor, on its face does “nothing to support the
  8   inference that he would be a danger to his child at the present time or that
  9   reunification with his son would not be in the son’s best interests.” Id.
 10         That conclusion finds further support in the recommendation of the
 11   independent child advocate for Mr. C.’s son, D., who has investigated the facts of
 12   the separation and has strongly urged that D.’s best interests require him to be
 13   reunified with his father. D.’s child advocate observed that prior to their separation,
 14   Mr. C. and his son were “very close,” that the separation is “devastating” to D., and
 15   that there is no indication that Mr. C. had abused or neglected his son. See Young
 16   Center Supplemental Best Interests Recommendation for D (“Young Center D.
 17   BIR”), Ex. 64-1, at 2. The child advocate further notes that “no family member or
 18   ORR foster care staff members have expressed any concern that Mr. [C.] had
 19   abused or neglected his son.” Id. Thus, “[s]o long as this separation keeps D. from
 20   living and growing under his father’s care, D.’s health, safety, and well-being will
 21   continue to suffer and will likely worsen.” Id.
 22         Even if Mr. C.’s sole conviction bore any relevance to his fitness as a parent,
 23   which it does not, any claimed relevance is foreclosed by its staleness. The
 24   conviction occurred eight years ago, six years before D.’s birth, and cannot support
 25   a current finding that D. “is in imminent danger of abuse.” Brokaw v. Mercer
 26   Cnty., 235 F.3d 1000, 1019 (7th Cir. 2000). Nor could it support a finding that
 27   reunification with Mr. C. would not be in his son’s best interests. See In re Baby
 28   Girl M., 135 Cal. App. 4th 1528, 1542 (Cal. Ct. App. 2006) (finding three felony
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  1   drug and burglary convictions did not warrant termination of parental rights); see
  2   also In re C.T.E., 95 S.W.3d 462, 466 (Tex. App. 2002) (“Although appellant’s
  3   criminal history is a factor in determining the best interest of the children, it is not
  4   dispositive.”).
  5       II.      There Is No Barrier to Reunifying Ms. Q. or Mr. C., Either by
  6                Releasing the Families or Placing Them in Family Residential
  7                Centers.
  8             The Government appears to acknowledge that the mere presence of a
  9   criminal history, or allegations against a parent, does not render a parent per se
 10   dangerous.3 It has nevertheless suggested that even if governing law would not
 11   justify the separation of parents like Ms. Q. and Mr. C. from their children, they
 12   cannot be reunited because their purported criminal histories render them
 13   inappropriate for family residential centers.
 14             The government could address this issue by simply exercising its discretion
 15   to release both families from custody. See Dkt. 83 at 20 (emphasizing that
 16   government retains “discretion in matters of release and detention consistent with
 17   law”). But even if reunification in detention were the only option, neither Ms. Q.
 18   nor Mr. C. can reasonably be viewed as inappropriate for placement in family
 19   residential centers. Neither parent remotely presents danger concerns. Ms. Q. has
 20   never been convicted of any crime. The only allegations against her are thin and
 21   conclusory, contained in a foreign warrant that contains no finding of probable
 22   cause, and alleges mere criminal “affiliation” while failing to cite any facts that
 23   might indicate she has engaged in criminal conduct. And Mr. C. was convicted of a
 24   misdemeanor offense eight years ago, which surely cannot bar him from detention
 25
      3
 26     In fact, the government can only point to an unsubstantiated warrant for Ms. Q.,
      which does not meet any fair definition of “criminal history.” For example, in the
 27   U.S. Sentencing Guidelines, an individual’s “criminal history” does not include
 28   unexecuted arrest warrants or even arrests. See U.S.S.G. § 4A1.1 (outlining the
      types of convictions that can add points to an individual’s sentencing score).
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  1   with his child. 4
  2          In fact, both parents have been detained in DHS adult immigration detention
  3   centers for months, without causing any disruption at those facilities. Goettel Decl.,
  4   Ex. 63, ¶; Silane Decl., Ex 64, ¶ 11. The government has not put forth any evidence
  5   (other than their criminal histories) that they would be dangerous to their own
  6   children, much less to other individuals. Ms. Q. and Mr. C. should satisfy any
  7   reasonable standards that may apply to the government’s decisions to place families
  8   in family detention centers. Where so much is at stake for these young children and
  9   parents, the government cannot refuse to reunify based on unproven concerns about
 10   danger.
 11       III.   Immediate Reunification Is Required to Prevent Continued
 12              Irreparable Injury.
 13          Both families are suffering irreparable harm as a result of their separation. As
 14   Ms. Q. herself testifies, she has recently suffered an anxiety attack brought on by
 15   fears about J. and has been crying so much about his absence that her body aches.
 16   Ms. Q. Decl., Ex. 63-1, ¶ 32. J.’s child advocate states that when he first came to
 17   ORR custody, he was crying and asking for his mother, and had crying fits that
 18   lasted for two days. Goettel Decl., Ex. 63, ¶ 34.
 19          J.’s immigration counsel reports that he has regressed significantly during his
 20   time in ORR custody, and now exhibits significant speech and developmental
 21   problems. For example, when he came to the United States with his mother he was
 22   toilet trained, but now, at four years old, he needs diapers after having several
 23   accidents. See Declaration of Colleen Kilbride (“Kilbride Decl.”), Ex. 63-6, ¶ 4.
 24   Unlike other children his age, J. currently cannot pronounce words and can only
 25
      4
 26    The government may claim that its policies render parents with criminal histories
      per se ineligible for placement in family detention. Plaintiffs are aware of no such
 27   policy, and in fact, there are cases of parents with criminal histories who have been
 28   detained in DHS family residential facilities. See Declaration of Manoj Govindaiah,
      Ex. 66.
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  1   mimic noises. Id., ¶¶ 5-6. Even more troubling, he no longer recognizes his
  2   mother’s voice. Ms. Q. Decl., Ex. 63-1, ¶ 59.
  3         Similarly, prior to their separation, Mr. C. spent every day with D. Silane
  4   Decl., Ex. 64, ¶ 6. Each time Mr. C. speaks with his attorneys, he is desperate to
  5   know how D. is doing and when he can see him again. Id., ¶ 5. Mr. C. has
  6   difficulty keeping his voice from shaking when he explains that “papa” was one of
  7   the few words D. knew how to say at the time they were separated. Id. He now
  8   takes daily medication for depression since being detained, and suffers increasingly
  9   severe stomach pains and chest pains from anxiety over when he will see D. again.
 10   Id. at ¶ 11. D. had his second birthday in ORR detention, apart from his father, id.,
 11   ¶ 6; his condition worsens with each additional day beyond the 134 he has already
 12   spent in custody, see Young Center D. BIR, at 1. D.’s child advocate reports that he
 13   is confused, and understandably “struggle[s] to make sense of life in an ORR
 14   shelter.” Id. at 2. The advocate fears that “[s]o long as this separation keeps [D.]
 15   from living and growing under his father’s care, [D.’s] health, safety, and well-
 16   being will continue to suffer and will likely worsen.” Id.
 17      IV.    Conclusion
 18         The government has no reasonable justification for keeping Ms. Q. and Mr.
 19   C. apart from their children. For the reasons above, this Court should order their
 20   immediate reunification.
 21
      Dated: September 13, 2018                  Respectfully Submitted,
 22
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                                CERTIFICATE OF SERVICE
    1
    2         I hereby certify that on September 13, 2018, I electronically filed the
    3   foregoing with the Clerk for the United States District Court for the Southern
    4   District of California by using the CM/ECF system. A true and correct copy of this
    5   brief has been served via the Court’s CM/ECF system on all counsel of record.
    6                                                /s/ Lee Gelernt
    7                                                Lee Gelernt, Esq.
    8                                                Dated: September 13, 2018
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    1              Ms. L. et al., v. U.S. Immigration and Customs Enforcement, et al.

    2      EXHIBITS TO PLAINTIFFS’ SUPPLMENTAL MEMORANDUM IN
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                    EXHIBIT 63




                                                                  Exhibit 63, Page 13
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                             UNITED STATES DISTRICT COURT
   10                      SOUTHERN DISTRICT OF CALIFORNIA
   11

   12   Ms. L. et al.,                                     Case No. 18-cv-00428-DMS-
                                                           MDD
   13                         Petitioners-Plaintiffs,
        v.
   14                                                      Date Filed: September 13, 2018
        U.S. Immigration and Customs Enforcement
   15
        (“ICE”) et al.,

   16                                                      DECLARATION OF
                               Respondents-Defendants.     KATHERINE E. MELLOW
   17                                                      GOETTEL
   18
                                                           Class Action
   19

   20                                                      NO HEARING DATE
   21

   22

   23   Stephen Kang (SBN 292280)
        Spencer E. Amdur (SBN 320069)
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   28


                                                                             Exhibit 63, Page 14
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 1              DECLARATION OF KATHERINE E. MELLOY GOETTEL
 2         I, Katherine Melloy Goettel, pursuant to 28 U.S.C. § 1746, swear under penalty
 3   of perjury that the following statement is true and correct to the best of my knowledge.
 4         1.     My name is Katherine Melloy Goettel and I am a Senior Litigation
 5   Attorney at the National Immigrant Justice Center (NIJC) in Chicago, Illinois. I have
 6   worked at NIJC since June 2017. I previously worked for eight years in the
 7   Department of Justice’s Office of Immigration Litigation.
 8         2.     This declaration is based on my own knowledge and that of other NIJC
 9   staff members and is supported, as applicable, by the exhibits attached hereto.
10         3.     The NIJC is a non-profit legal organization that operates an Immigrant
11   Children’s Protection Project. The project provides legal services to thousands of
12   unaccompanied immigrant children held in Chicago-area shelters each year. In this
13   capacity, NIJC attorneys began representing Ms. Q.’s son, J., who was transferred to a
14   Chicago-area shelter after his separation from his mother, Ms. Q., at the border.
15         4.     NIJC and pro bono attorneys from Gibson, Dunn & Crutcher LLP also
16   serve as joint counsel to Ms. Q.
17   A.    Ms. Q. and J.’s Immigration to the United States
18         5.     Ms. Q. is a native of El Salvador and the mother of her four-year-old son,
19   J., who was only three years old when they entered the United States in March 2018.
20   See Ex. 1, Ms. Q. Decl. at ¶ 34. Ms. Q. entered the United States with J. to seek
21   asylum in the United States. Id. at ¶ 3. Her claim for protection in the United States
22   stems from gender violence by multiple perpetrators, gang-related violence, and false
23   accusations of gang affiliation by the Salvadoran government. Id. at ¶ 21-25.
24         6.     On March 22, 2018, Ms. Q. and J. entered the United States following an
25   arduous journey from El Salvador. Id. at ¶ 34; Ex. 2, Credible Fear Worksheet.
26         7.     Ms. Q. and J. quickly encountered by U.S. Customs and Border
27   Protection (CBP) officers. Ex. 1, Ms. Q. Decl. at ¶ 42. The officers interviewed Ms.
28   Q., arrested her and J., and transported them to a CBP holding station. Id. at ¶ 43. The

                                                1
                                DECLARATION OF K. MELLOY GOETTEL
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 1   officers took Ms. Q. and J. to a small cell, which was crowded with other parents and
 2   their children. Id. at ¶ 44.
 3         8.     A day or so later, immigration officers moved Ms. Q. and J. to a chain-
 4   linked holding cell, which was akin to a cage. Id. at ¶ 46. In the cage, J. began to
 5   vomit and had diarrhea. Id. Because of his vomiting and diarrhea, Ms. Q. told the
 6   officers J. was sick, but they would not give him any medical attention. Id.
 7         9.     Ms. Q. provided the officers with J.’s birth certificate. Id. at ¶ 51. The
 8   birth certificate lists Ms. Q. as J.’s mother. The officers did not question that Ms. Q.
 9   is J.’s biological mother.
10         10.    Approximately the next morning, J. was sleeping in Ms. Q’s arms when
11   the officers asked that Ms. Q and J. come together to see the officers. Id. One of the
12   officers told Ms. Q. to give J. to a woman who appeared to be a Government
13   employee. Id. at ¶ 52. Ms. Q. pleaded with them not to take J. Id. The officers said,
14   “don’t force us to take him.” Id. Ms. Q. hugged J. tightly but they seized him from
15   her arms. Id. The officers then put J. on the ground and forced him to stand up. Id.
16   He woke up and said “mama.” Id. The officers then took her away from J. Id.
17         11.    Soon after, Ms. Q. was lined up with other immigrants to be transported
18   to the Laredo Processing Center. Id. at ¶ 53. On her way out, Ms. Q. saw J. sitting
19   alone in a cage. Id. He was looking around, as if trying to find her. Id. at ¶ 53. Ms.
20   Q. tried to hide herself so that J. would not be frightened by seeing the officers take her
21   away. Id. This was the last time Ms. Q. saw her son.
22         12.    Approximately a day after ICE transferred Ms. Q. to the Laredo
23   Processing Center, an asylum officer interviewed her to determine if she had a
24   “credible fear of persecution” if she was returned to El Salvador, which is the prefatory
25   step to obtain asylum. Id. at ¶ 57. The asylum officer found that Ms. Q. had a credible
26   fear of persecution in El Salvador, meaning she had a “significant possibility” of
27   asylum eligibility. See 8 U.S.C. § 1225(b)(1)(B)(v); Ex. 2, Credible Fear Worksheet.
28

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 1   B.      The Government’s Denial of Reunification to Ms. Q.
 2           13.   Ms. Q. was not reunited with J. by the fourteen-day deadline set out in the
 3   Court’s preliminary injunction order.
 4           14.   On July 12, 2018, in an email from an ICE officer to NIJC counsel, ICE
 5   stated that Ms. Q. would not be reunited with J. because of a foreign warrant alleging
 6   gang affiliation. The Government did not provide any other basis for finding that Ms.
 7   Q. was unfit or a danger to her child.
 8           15.   This was the first time that NIJC counsel learned the reason why the
 9   Government had refused to reunite Ms. Q. and J. The Government had never
10   previously indicated to Ms. Q. or counsel that it intended to deny her reunification.
11   Nor had it provided Ms. Q. or her counsel with a copy of the warrant or any underlying
12   evidence supporting the warrant or any factual details about her alleged “criminal
13   history.”
14   C.      Ms. Q.’s Immigration Court Proceedings and the Illegitimacy of the
15           Salvadoran Arrest Warrant
16           16.   After repeated requests for the Government to provide a copy of the arrest
17   warrant, ICE finally provided a copy of the warrant to NIJC on July 20, 2018. Ex. 5,
18   Borroto Decl. at ¶ 5. The Government provided no other evidence of her alleged
19   criminal history.
20           17.   The one-page warrant alleges the nebulous charge of “terrorist
21   organizations.”1 Ex. 3, El Salvador Warrant and English Translation. The warrant
22   does not allege that Ms. Q. engaged in any specific criminal activities, nor does it offer
23   specific dates, times, or places of such alleged activity, or cite any evidence to support
24   the charge. Id. The warrant does not state any finding of probable cause. Id.
25
26
      1
          The warrant cites to the Salvadoran Special Law Against Terrorist Acts
27        (“LECAT”), which classifies MS as a terrorist organization in El Salvador. Though
          the warrant contains no further details relating to the charge, the “terrorist
28        organization” charge appears to reference unsubstantiated allegations of gang
          affiliation.
                                                 3
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 1         18.    Ms. Q. has never been convicted of any crime, either in El Salvador or the
 2   United States.
 3         19.    Ms. Q.’s counsel retained a licensed attorney in El Salvador to examine
 4   the allegation that she committed the offense of “terrorist organizations.” Ex. 4,
 5   Report from El Salvador Attorney. Id. The attorney reviewed the evidence submitted
 6   in conjunction with the arrest warrant. Id.
 7         20.    The evidence did not contain any specific information about Ms. Q. Id.
 8   Rather, the evidence related only to a larger anti-gang operation that involved an
 9   incident at the house in El Salvador where Ms. Q. had been renting a room for herself
10   and J. Id. Ms. Q. did not know the other occupants of the house very well, and she
11   tended to keep to herself. Ex. 1, Ms. Q. Decl. at ¶ 18. Ms. Q. never saw or suspected
12   any gang activity was taking place in the house. Id.
13         21.    The warrant appears to arise from an incident in July 2016, when Ms. Q.
14   was at home with her son and heard commotion outside the house. Id. at ¶ 21. People
15   were running near the house while she heard the sounds of cars and police officers
16   outside. Id. Ms. Q. took J. in her arms and stayed in her room. The police officers
17   came in the house, guns drawn, and began searching the house. Id. They yelled at her,
18   telling her to go outside, and kept the guns pointed at her and her son, who was still in
19   her arms. Id. They asked Ms. Q. questions about whether she was involved in a gang,
20   and if she knew where the gang members were. Ms. Q. told them that she has never
21   been affiliated with a gang. Id. The police officers questioned her, saved a copy of her
22   identification, and photographed her. Id. at ¶ 21-22.
23         22.    The Salvadoran attorney found no evidence suggesting that Ms. Q. had
24   ever engaged in gang-related activity. Ex. 4, Report from El Salvador Attorney; Ex. 1,
25   Ms. Q. Decl. at ¶ 33. To the contrary, her entanglement in the case appears to be based
26   solely on the fact that she rented a room in a house where gang activity allegedly
27   occurred. Ex. 1, Ms. Q. Decl. at ¶ 33.
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                                DECLARATION OF K. MELLOY GOETTEL
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 1          23. Days after the raid, Ms. Q. was attacked and physically beaten in the face
 2   by people who appeared to be gang members. Id. at ¶ 24-25. Ms. Q. believes she was
 3   beaten by the gang because they were aware she talked to police at the house that had
 4   been raided. Id. As a result of the attack, Ms. Q.’s face turned purple and blood came
 5   out of her nose, mouth, and one of her eyes. Id. at ¶ 26. She had trouble seeing out of
 6   that eye for a long time and feared she was going blind. Id.
 7          24.   In connection with her asylum proceedings, Ms. Q. had a bond hearing
 8   before an immigration court on July 31, 2018. See Ex. 5, Borroto Decl. at ¶ 7. Before
 9   the hearing, Ms. Q.’s counsel submitted the Salvadoran attorney’s report, as well as
10   country conditions reports explaining that false accusations of gang activity by police
11   are common in El Salvador. Id.
12          25.   At the July 31 immigration court hearing, ICE offered no explanation,
13   context, or evidence to support the arrest warrant. Id. at ¶ 8. ICE made no witness
14   available for Ms. Q. to cross-examine about the origins of the arrest warrant. Id.
15          26.   After hearing argument and reviewing the evidence, which included the
16   El Salvador arrest warrant and the report from the Salvadoran attorney, the
17   immigration judge found that Ms. Q. was not a danger to the community. Id. at ¶¶ 9-
18   10. He stated, “I don’t find that she is a danger. I do not have sufficient evidence or
19   information in front of me upon which to find that she is a danger to the community.”
20   Id. ¶ 10.
21          27.   The immigration judge nevertheless denied her bond based on a perceived
22   flight risk, despite the fact that Ms. Q. has a sponsor willing and able to receive her and
23   her son. Ex. 5, Borroto Decl. at ¶ 9. Accordingly, Ms. Q. remains detained and still
24   has not been reunified with her son. Id. at ¶ 11.
25          28.   On August 15, 2018, at the request of Ms. Q., Ms. L. class counsel asked
26   the Department of Justice (DOJ) to reconsider its decision not to reunify Ms. Q. and
27   her son, J., and provided DOJ counsel with the evidence submitted to the immigration
28

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                                 DECLARATION OF K. MELLOY GOETTEL
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 1   court, as well as an affidavit documenting the immigration judge’s “no danger”
 2   finding.
 3         29.    On August 28, 2018, DOJ counsel responded that DHS would not
 4   reconsider its decision. DOJ counsel further stated that the arrest warrant was renewed
 5   in June 2018 based on the same factual information. Despite requests on August 23
 6   and 28, 2018, DOJ counsel has not provided a copy of the renewed arrest warrant to
 7   Ms. Q. or her counsel. Nevertheless, the Government continues to separate Ms. Q.
 8   from her son based on an untested arrest warrant.
 9         30.    Ms. Q. has not caused any problems while she has been in Government
10   custody.
11   D.    Ms. Q. and Her Son, J., Continue to Irreparably Suffer Every Day They
12         Remain Apart
13         31.    As of the date of this declaration, Ms. Q. has been separated from J. for
14   more than five months.
15         32.    The effect of the separation on both Ms. Q. and J. is profound. Ex. 1, Ms.
16   Q. Decl. at ¶ 60. Ms. Q. has had significant trouble sleeping and cannot stop thinking
17   about her son. Id. On September 3, 2018, Ms. Q. had an anxiety attack. Id. Her
18   blood pressure rose, her lips got swollen, and she was trembling. Id. Ms. Q. also
19   reports that she has been crying so much her body aches. Id.
20         33.    Ms. Q. has had very limited opportunities to communicate with J. About
21   a month after Ms. Q. arrived at the Laredo Processing Center, she was finally given the
22   opportunity to speak with J. on the phone. Id. at ¶ 58. The first conversation lasted
23   about ten minutes. Id. J. said “mama,” but could not say much beyond that. Id. J.’s
24   shelter caseworker told Ms. Q. not to cry on the call because it would upset J., so Ms.
25   Q. sang a song with J. and told him she loved him and would see him soon. Id. Ms. Q.
26   has only been able to speak with J. over the phone in a limited number of other
27   instances and he shows signs of deterioration. Id. at ¶ 58. On recent calls, J. has been
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                                DECLARATION OF K. MELLOY GOETTEL
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                    EXHIBIT 63-5




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                    EXHIBIT 63-6




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                                 Affidavit of Mary Colleen Kilbride


   I, Mary Colleen Kilbride, under penalty of perjury of law, hereby declare the following:


       I. My name is Mary Colleen Kilbride. I am a staff attorney at the National Immigrant

          Justice Center (NIJC) in Chicago, Illinois. NIJC is the Legal Services Provider for

          unaccompanied immigrant children detained in Office of Refugee Resettlement (ORR)

          care in the Chicago area.

      2. In the course of my work with NIJC's Immigrant Children's Protection Project, I learned

          of the case of J                                         (A -         044), a now four year

          old boy currently detained at the                                           RR shelter in

          Chicago. Through communications with the shelter and ORR, I learned -                 was

          separated from his mothe                                        (A-        043), who is

          currently detained at the Laredo Contract Detention Center in Laredo, Texas.

      3. I currently assist my supervising attorney, Gianna Borroto, who represents both Ms.

                              and ~n their immigration proceedings.

      4. In my communications with Ms.                           I learned that ORR shelter staff

          informed her that ~needs to be seen by a specialist for his developmental delays.

          The ORR shelter staff stated that J-         still requires diapers on a daily basis due to

          continued bathroom related accidents and that his speech capabilities are noticeably

          underdeveloped for his age.

      5. Ms.                      is understandably concerned for her son's physical, mental, and

          social development. She is acutely distraught over her inability to parent her son as

          needed. She is desperate to seek the crucial behavioral and speech attention for her son

          and to implement necessary educational training as his mother and first teacher.

                                                   1


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       6. On August 27'h, 2018, I spoke with ORR shelter director, Ms.                             where

           ~esides. Ms. -                    confirmed the shelter referred ~to the program

           psychiatrist, Dr.-             due to -         s behavioral and speech developmental

           delays. Ms.-            eported that J-        is significantly delayed in speech and

           bathroom development as compared to typically developed children his own age. The

           program psychiatrist recommended support and training for Ms. Q                           so

           that she can effectively teach the necessary speech, behavioral, and life skills J-

           lacks.

       7. Ms-           reported that typical four year olds are potty-trained and speak in basic

          sentences. Ms. -           stated that ~alUlot pronounce words; he can only mimic

           noises at this stage.

       8. Ms. -           eported the ORR shelter is working to connect - -with a speech

          therapist, but that finding a provider has been challenging given obstacles within ORR

          and insurance. Ms. -           highlighted J-         s need for speech therapy, but explained

          he is not yet receiving speech therapy recommended by the program psychiatrist.




   I swear under penalty of perjury that the above declaration is true and correct to the best of my
   ability.




   Mary Colleen Kilbride                                           Date




                                                      2

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                    EXHIBIT 63-7




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                                                                   Exhibit 63-7, Page 32
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                    EXHIBIT 64




                                                                    Exhibit 64, Page 33
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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA


       Ms. L. et al.,                                           Case No. 18-cv-00428-DMS-
                                                                MDD
                                Petitioners-Plaintiffs,
       v.
                                                                Date Filed: September 13, 2018
       U.S. Immigration and Customs Enforcement
       (“ICE”); ,
                                                                DECLARATION OF CAROLYN
                                 Respondents-Defendants.        A. SILANE

                                                                Class Action




        I, Carolyn A. Silane, declare and state pursuant to 28 U.S.C. § 1746:
             1. I am an attorney licensed to practice law in the States of New York and
        California. I am an Associate at Morgan, Lewis & Bockius LLP (the “Firm”). The
        Firm was retained to represent Mr. C. on July 13, 2018. I have been the primary
                                                                                           18cv0428
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        attorney assigned to the case and have worked with Mr. C. directly since that day. I
        make this affidavit of my own knowledge, conversations with my client, and
        government officials, and could and would competently testify to the matters
        contained herein if called upon to do so. I submit this affidavit in support of
        Petitioner-Plaintiff’ Brief Regarding Reunification of Two Parents.
           2. On April 30, 2018, Mr. C. and his then 19-month old son, D, arrived in the
        United States after fleeing Honduras to escape explicit death threats from members
        of gangs that had kidnapped and held Mr. C. at gun point; threats against his and his
        baby’s lives; and threats from other gang members that had already killed multiple
        members of Mr. C’s extended family.
           3. Immediately upon encountering border patrol officers on April 30, Mr. C.
        informed them of his fear of returning to Honduras. Mr. Coto spent his first few
        days in the United States in detention huddling together with D, who was 19
        months old at the time, just to stay warm. Mr. C. described the holding facility as
        being “like a freezer,” leaving him and D. shivering and shaking with only thin
        aluminum blankets to keep them warm.
           4. On the third day in detention, immigration officials accused Mr. C. of being a
        criminal, and told him to say “goodbye” to his son because they were “taking him
        away.” Mr. C. cried as he watched officials take his 19-month old baby away from
        him. May 2, 2018 was the last time Mr. C. saw, or heard from, his son. Prior to
        that time, Mr. C. had spent every day with D.
           5. Each time Mr. C. speaks with me, he asks desperately about how D. is doing
        and when he can see him again. Talking about D. recently, Mr. C. had a hard time
        keeping his voice from shaking when explaining that calling him “papa” was one of
        the few words D. knew how to say at the time they were separated.
           6. D was nineteen months old when they were separated, and has turned two
        recently while in ORR custody.
           7. While detained, Mr. C. was transferred from a detention facility in Texas to


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        one in New Jersey, close to where D. is in ORR care. He was told by detention
        officers that he would be reunified with D, but later was told he would not be
        reunified because he was not D’s biological father.
           8. In fact, Mr. C. adopted D, with the blessing of D’s biological mother, and is
        D’s legal father under Honduran law. He has seen and cared for D. every day since
        the day D. came home from the hospital, taking him to parks, bathing and feeding
        him. After our office provided proof that Mr. C is D’s legal father, the government
        continued to deny reunification on the basis of his criminal history.
           9. The government’s sole cited reason for refusing to reunite Mr. C. and D. now
        is Mr. C’s 2010 misdemeanor conviction for aggravated assault, for which he
        received 48 days of jail time. Mr. C. has no other criminal history. No children
        were involved in the incident that led to Mr. C’s conviction. The government has
        informed me that it no longer contests Mr. C’s parentage, but will not reunify the
        family based on security concerns at family detention centers.
           10. D has a federally-appointed Child Advocate, who has evaluated D’s best
        interests, including his safety and well-being, and concluded that D. should be
        immediately reunified with Mr. C. That Best Interests Recommendation is attached
        as an Exhibit A to my declaration.
           11. I have spoken to Mr. C. many times during my representation. He has been
        suffering extreme anxiety in custody out of concern for his son, and in the last few
        weeks has been experiencing increasingly severe stomach pains and, recently, chest
        pains due to the anxiety about when he will ever see his child again. Mr. C takes
        daily medication for depression since being detained, and often cries when he is
        alone in his cell, overwhelmed with concern for his son.
           12. It is my understanding and belief that Mr. C. has not had any issues while in
        detention, has conducted himself a model way, and attends an informal prayer
        group each day.
           13. On August 23, 2018, I was present for Mr. C.’s reasonable fear interview


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        during which a USCIS official found that Mr. C. has a reasonable fear of return to
        Honduras.


        Executed this 13th day of September 2018, in New York, NY.


                                                    s/Carolyn A. Silane
                                                    Carolyn A. Silane




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                    EXHIBIT 64-1




                                                                Exhibit 64 Page 38
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Priscilla Monico Marín, Esq.                            Elizabeth Frankel, Esq.
Staff Attorney, Child & Family Rights Project           Associate Director

Encl.

cc:     Marivic Fields, Office of Refugee Resettlement
        Jill Volovar, Office of Refugee Resettlement
        Alexa Mutt, Case Manager, LSSNY
        Carolyn Silane, Esq., Morgan Lewis, Attorney for D                        and             C




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                                                                                        Exhibit 64-1, Page 39
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                                                                     Exhibit 64-1, Page
                                                                     40
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Priscilla Monico Marín, Esq.                            Elizabeth Frankel, Esq.
Staff Attorney, Child & Family Rights Project           Associate Director

Encl.

cc:     Marivic Fields, Office of Refugee Resettlement
        Jill Volovar, Office of Refugee Resettlement
        Alexa Mutt, Case Manager, LSSNY
        Carolyn Silane, Esq., Morgan Lewis, Attorney for D                        and          C




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                                                                                   Exhibit 64-1, Page 41
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                    EXHIBIT 65




                                                                    Exhibit 65, Page 42
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13                                      *Admitted Pro Hac Vice
14                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
15
     Ms. L., et al.,
16
                           Petitioners-Plaintiffs,    Case No. 18-cv-00428-DMS-MDD
17 v.
18 U.S. Immigration and Customs Enforcement
     (“ICE”); et al.,
19
                            Respondents-Defendants.   SUPPLEMENTAL
20
                                                      DECLARATION OF MARTIN
21                                                    GUGGENHEIM
22                                                    CLASS ACTION
23
24
                                                      No Hearing Date

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                                                                         Exhibit 65, Page 43
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 1   I, Martin Guggenheim, hereby declare, pursuant to 28 U.S.C. § 1746:
 2   1. I am the Fiorello LaGuardia Professor of Clinical Law at New York University
 3      School of Law and a Founding Board Member of the Center for Family
 4      Representation. I have already submitted two declarations in this case, Dkt. No.
 5      48-1, Dkt. No 78, and incorporate those declarations herein.
 6   2. I have previously explained that the presence of a criminal record does not displace
 7
        the general rule that “[a]bsent a finding of unfitness, it is presumed that children
 8
        are best served by remaining with their natural parents.” In re Termination of
 9
        Parental Rights to Max G.W., 716 N.W.2d 845, 857 (Wis. 2006) (citing Santosky
10
        v. Kramer, 455 U.S. 745, 760 (1982)). Criminal convictions are relevant only
11
        insofar as they bear on the fitness of the parent, and even then must be considered
12
        in combination with a totality of the factors that go to the best interests of the child.
13
     3. This general principle holds true even where a criminal conviction is for the most
14
        serious crimes. See Dkt. No 78, ¶ 8.
15
     4. I understand from Plaintiffs’ counsel that two of the parents in this case, Ms. Q and
16
        Mr. C, have been denied reunification with their young children based on their
17
        criminal histories. Plaintiffs’ counsel has provided me the following information
18
        concerning these parents’ criminal records.
19
     5. My understanding is that Ms. Q has been denied reunification on the basis of a
20
        criminal warrant from El Salvador, which alleges that she has “committ[ed] the
21
        offense of terrorist organizations.” I have reviewed a redacted and translated copy
22
23
        of the Spanish language warrant dated February 2017; my understanding is that

24
        this warrant was renewed in June 2018. The warrant appears to contain no specific

25      allegations of criminal activity, beyond the charge of “terrorist organizations.” My

26      understanding is that the government has refused to reunify Ms. Q with her son on

27      the sole basis of this outstanding warrant, and that she has no other criminal
28      history.

                                                                                        18cv0428
                                                                                   Exhibit 65, Page 44
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 1   6. My understanding is that in 2010, Mr. C was convicted of misdemeanor
 2      aggravated assault under Louisiana law, for which he received a sentence of 48
 3      days in jail. My understanding is that the government has refused to reunify Mr. C
 4      with his son on the sole basis of this criminal conviction, and that he has no other
 5      criminal history.
 6   7. In my opinion, neither Mr. Q nor Mr. C’s criminal histories justifies separating
 7
        them from their children. Considerably more would have to be alleged to deny
 8
        parents their constitutionally protected right to the care and custody of their
 9
        children. In the United States, under both federal and state law in all jurisdictions,
10
        there is no lawful basis to deny parents custody of their children based on the
11
        parents’ alleged criminal activities without a particularized showing that keeping
12
        or reuniting a child with her parent would place the child at imminent risk of
13
        serious harm. In these two instances, neither parent’s criminal histories, standing
14
        alone, would even permit a finding that reunification with the parent is not in the
15
        child’s best interests, much less justify their removal from their parents in the first
16
        instance.
17
     8. In Ms. Q.’s case, the El Salvadoran warrant is entirely conclusory, lacking any
18
        facts from which a court could infer that her child would be exposed to any kind of
19
        risk if returned to her custody. The warrant does not come close to supporting a
20
        reasonable suspicion that she would endanger her son or is unfit to care for him.
21
     9. Nor could Mr. C.’s his eight-year-old misdemeanor conviction possibly serve as a
22
23
        basis for denying him and his child their reciprocal constitutional rights to live

24
        together as a family. Hundreds of thousands of people with felony convictions in

25      the United States have the constitutional right to the care and custody of their

26      children once they served their sentences and are released from custody. To deny a

27      father the same right for behavior that warranted a 48 day jail sentence would be
28      manifestly unsupportable under the law governing this context. There simply is

                                                                                       18cv0428

                                                                                     Exhibit 65, Page 45
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 1      nothing to support the inference that he would be a danger to his child at the
 2      present time or that reunification with his son would not be in the son’s best
 3      interests.
 4
     I declare under penalty of perjury that to the best of my knowledge the above facts are
 5
     true and correct. Executed this 13th day of September, 2018, in New York, New York,
 6
 7                                                       /s/ Martin Guggenheim
 8
                                                         MARTIN GUGGENHEIM
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                                                                                 Exhibit 65, Page 46
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                    EXHIBIT 66




                                                                      Exhibit 66, Page 47
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    9
                             UNITED STATES DISTRICT COURT
   10                      SOUTHERN DISTRICT OF CALIFORNIA
   11

   12   Ms. L. et al.,                                     Case No. 18-cv-00428-DMS-
                                                           MDD
   13                         Petitioners-Plaintiffs,
        v.
   14                                                      Date Filed: September 13, 2018
        U.S. Immigration and Customs Enforcement
   15
        (“ICE”); U.S. Department of Homeland Security
        (“DHS”); U.S. Customs and Border Protection
   16   (“CBP”); U.S. Citizenship and Immigration          SUPPLEMENTAL
        Services (“USCIS”); U.S. Department of Health      DECLARATION OF MANOJ
   17   and Human Services (“HHS”); Office of              GOVINDAIAH
        Refugee Resettlement (“ORR”); Thomas
   18   Homan, Acting Director of ICE; Greg
        Archambeault, San Diego Field Office Director,     Class Action
   19   ICE; Joseph Greene, San Diego Assistant Field
        Office Director, ICE; Adrian P. Macias, El Paso
   20   Field Director, ICE; Frances M. Jackson, El Paso   NO HEARING DATE
        Assistant Field Office Director, ICE; Kirstjen
   21   Nielsen, Secretary of DHS; Jefferson Beauregard
        Sessions III, Attorney General of the United
   22
        States; L. Francis Cissna, Director of USCIS;
        Kevin K. McAleenan, Acting Commissioner of
   23   CBP; Pete Flores, San Diego Field Director,
        CBP; Hector A. Mancha Jr., El Paso Field
   24   Director, CBP; Alex Azar, Secretary of the
        Department of Health and Human Services;
   25   Scott Lloyd, Director of the Office of Refugee
        Resettlement,
   26
   27                          Respondents-Defendants.

   28

                                                                             Exhibit 66, Page 48
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                                                                     Exhibit 66, Page 49
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    1   1.     I, Manoj Govindaiah, make the following declaration based on my personal
    2   knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746
    3   that the following is true and correct:
    4   2.     I am an attorney and the Director of Family Detention Services at RAICES.
    5   I oversee a staff of approximately 17 employees and supervise all of RAICES’
    6   immigrant family detention work. RAICES runs the Karnes Pro Bono Project, a
    7   nationwide pro bono project that provides legal services to families detained in ICE
    8   custody at the Karnes County Residential Center (“Karnes detention center” or
    9   “Karnes”), in Karnes City, Texas. We represent approximately 90% of the families
   10   at Karnes.
   11   3.     I have previously submitted three declarations in this case, at Dkt. 78, Ex. 36;
   12   Dkt. 110, Ex. 40; and Dkt. 153, Ex. 57.
   13   4.     I am aware of parents detained at the Karnes detention center with their
   14   children, where the parents have some kind of criminal history. I describe two
   15   examples here.
   16   5.     One father entered the United States this year and was separated from his
   17   son. He was subsequently reunited with his son pursuant to the Ms. L injunction and
   18   they were sent to Karnes. I understand that he has a drunk driving charge or a
   19   conviction. A background check also showed that he has an outstanding warrant for
   20   an armed robbery from Honduras, although the father denies this allegation.
   21   6.     Another father was previously charged or convicted of drinking and driving
   22   on two different occasions. He and his child entered the United States together this
   23   year and were sent to Karnes for detention.
   24   7.     Based on my representation of fathers in the Karnes detention facility, and
   25   my recollection of the cases described above, my understanding is that DHS
   26   sometimes places fathers with criminal histories in the facility with their children.
   27   These fathers are not segregated in any way from the general population at the
   28   facility.
                                                                                      18cv0428
                                                                                 Exhibit 66, Page 50
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    1         I declare under penalty of perjury that to the best of my knowledge the above
    2   facts are true and correct. Executed this 12th day of September, 2018, in San
    3   Antonio, Texas.
    4
    5                                                    /s/ Manoj Govindaiah
    6                                                    MANOJ GOVINDAIAH
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                                                                             Exhibit 66, Page 51
